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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9

10
      UNITED STATES OF AMERICA,

11
                   Plaintiff,                                Case No. CR01-0309L

12
            vs.
                                                             ORDER DENYING REQUEST
13
      TRACY K. BATTLES,                                      FOR APPOINTMENT OF NEW
                                                             COUNSEL
14
                   Defendant.

15

16

17
           The Court, having found that there are no matters pending that require counsel, DENIES

18
     defendant’s request for appointment of new counsel.

19
           DATED this 10th day of March, 2006.
20

21

22                                                  A
                                                    Robert S. Lasnik
23                                                  United States District Judge

24

25

26

27
     ORDER DENYING REQUEST FOR APPOINTMENT
28   OF NEW COUNSEL - 1
